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                               UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF MAINE


A.M., a minor, by and through her mother,             )
SHAEL NORRIS                                          )
                                                      )
                       Plaintiff                      )
                                                      )
v.                                                    )
                                                          Case No. 2:19-cv-00466-LEW
                                                      )
                                                      )
CAPE ELIZABETH SCHOOL DISTRICT, et al.                )
                                                      )
                                                      )
                     Defendants                       )




                             DECLARATION OF JEFFREY SHEDD

         Pursuant to 28 U.S.C. § 1746, I, Jeffrey Shedd, declare as follows:

     1. I am the Principal at Cape Elizabeth High School (“CEHS”), which is part of the Cape

        Elizabeth School Department (“School Department”) in Cape Elizabeth, Maine.

     2. I have been the Principal at CEHS since July 2001.

     3. The Cape Elizabeth School Committee has adopted policies and procedures on bullying

        and on sexual harassment and discrimination. Copies of the policies and procedures

        relating to bullying (JICK and JICK-R) are attached hereto as Exhibit 1 and copies of

        policies and procedures on sexual harassment and discrimination (ACAA) are attached as

        Exhibit 2.

     4. Pursuant to Policy ACAA, the District’s Title IX Coordinator is responsible for

        investigations of sexual harassment whereas in my role as Principal of CEHS, I am

        responsible for implementing the bullying policy and directing investigations of bullying
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    at CEHS. Sometimes I perform investigations of bullying myself and sometimes I

    delegate that role to the Assistant Principal, Nate Carpenter, or we perform the

    investigations together.

 5. During my tenure as Principal, we have always taken sexual assault, sexual harassment

    and sexual discrimination seriously, not only in addressing specific incidents that have

    arisen but also in attempting to raise our school community’s awareness of these issues.

    Thus, in the past three years, we have held two all-day SAAFE (Sexual Assault

    Awareness for Everyone) events and we have a third such event planned for this spring.

 6. We recognize, however, that there is always room for improvement and we try to be

    receptive to suggestions made by students, staff and community members. As a result of

    statements made to the School Committee last spring by three of our students, including

    A.M., the School Committee has embarked on a comprehensive a review of its policies

    and procedures. Although A.M. was not appointed to the committee working on that

    project, a student representative was appointed.

 7. On Monday, September 16, 2019, a student came to the main office at CEHS with three

    sticky notes that she reported were posted in the second floor girls’ bathroom, all which

    stated: “There’s a rapist in our school, and you know who it is.”

 8. Within a couple of hours of the student reporting the notes from the second floor girls’

    bathroom, other students reported copycat notes in the first floor girls’ bathroom stating

    something to the effect of “kick out the rapist.”

 9. Because the wording of the notes clearly indicated the presence of a known rapist in the

    school, we treated them as anonymous reports of sexual violence and started an




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    investigation under our Title IX policy to determine whether the school was safe and

    whether there was a rapist in the school.

 10. The School Department’s Title IX Coordinator Cathy Stankard, CEHS Assistant Principal

    Nate Carpenter, School Resource Officer David Galvan, and I conducted the investigation,

    which included interviewing 47 students, viewing video footage of students entering and

    exiting the second floor bathrooms and viewing video footage that was alleged to show a

    particular student committing a rape or sexual assault. Superintendent Donna Wolfrom

    was also involved in some of the interviews and in assessing the results of the

    investigation.

 11. After the Title IX investigation and a related bullying investigation described in more

    detail below, I prepared a confidential report, a copy of which is attached as Exhibit 3.

 12. Of the 47 students who were interviewed as part of the investigation, all but a few stated

    that they knew that the note was in reference to one particular student. This student, a

    male student of color is referred to in my report and will be referred to herein as “Student

    1.” Aside from Student 1, no other student’s name was raised during the interviews as the

    alleged “rapist” described in the notes.

 13. As part of the investigation, Mr. Carpenter and SRO Galvan interviewed A.M. (referred to

    as Student 4 in my report) on September 16. They have reported to me that during that

    interview, A.M. said she did not know anything about the sticky notes but did say that she

    had heard rumors that there was a rapist in the building.

 14. During the course of the investigation some of the students who were interviewed

    provided us with information that indicated that A.M. was involved in posting at least

    some of the notes. They described A.M. showing them a picture of the note and also said




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    that she talked about Student 1 being a rapist. Two separate students told us that A.M.

    thought that he was a faculty icon and that in her view that he was protected by

    administration at least in part because he was a minority student.

 15. On Wednesday, September 18, 2019, Student 1 did not come to school.

 16. I met with Student 1 and his parents on September 19, 2019 and again on September 23,

    2019. Both of these meetings occurred off of school grounds at Town Hall because he did

    not feel safe going into the school building.

 17. They told me that the day after the notes were posted, Tuesday, September 17, 2019,

    Student 1 went to the chorus room to eat his lunch as he ordinarily did. Within one minute

    of sitting down to eat his lunch, all of the other students in the chorus room left.

 18. Student 1 also described that same afternoon, while in chorus class, a classmate of Student

    1 told him that her mother had heard from other mothers that they did not want their

    daughters associating with him.

 19. Later that day, another classmate of Student 1 told him that he did not have a future and

    would not be able to get into college.

 20. During the meeting on September 23, 2019, the student’s mother stated that she was

    concerned that her son was being bullied as a result of the notes referring to him as a

    rapist.

 21. I understood the student’s mother’s statements regarding bullying to constitute a report of

    bullying under policy JICK – Bullying and Cyberbullying Prevention in Schools.

 22. Pursuant to the procedures set forth in JICK-R, Mr. Carpenter, SRO Galvan and I

    conducted the bullying investigation. Ms. Stankard was not involved in the bullying

    investigation.




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 23. Ms. Stankard, Superintendent Wolfrom, Mr. Carpenter and SRO Galvan interviewed A.M.

    on September 17, 2019.

 24. After that interview, I was told that A.M. stated she had Student 1 in mind when she

    posted the note. I was told that A.M. also said that her purpose in posting the note was to

    instill fear.

 25. A.M. was interviewed a third time on September 26, 2019 by myself, Mr. Carpenter, SRO

    Galvan and Superintendent Wolfrom. At that time, she again admitted to posting one of

    the notes. She contended that others had posted other notes but did not want to provide

    their names.

 26. Based on our bullying investigation, we substantiated the student’s mother’s allegations of

    bullying. Specifically, we determined that A.M. had engaged in bullying within the

    meaning of policy JICK because she had engaged in written expression directed at a

    particular student for the purpose of creating a hostile educational environment for that

    student. In addition, her actions interfered with the student’s academic performance and

    ability to participate in or benefit from the services, activities or privileges provided by the

    school.

 27. We made similar conclusions as to the two students we determined posted notes in the

    first floor bathroom. We felt that they were less culpable than A.M. however partly

    because they were copying what A.M. had done. There was no reason to think they

    would have posted any notes in the first floor bathroom if the notes had not been posted

    approximately two hours earlier in the second floor bathroom. Their action was not the

    result of a plan, but the result of a bad choice in the moment.




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 28. We concluded the investigation on September 26, 2019 and made a decision on that day to

    suspend all three students who had posted sticky notes because they targeted Student 1.

 29. On Thursday, September 26 we discussed suspending A.M for five days, one of the other

    students who posted notes for two days and the third for one day. However, over the

    weekend I decided that a three-day suspension, rather than a five-day suspension was

    appropriate for A.M. My purpose was three-fold: to send a message to the community that

    efforts to raise a topic for discussion are not acceptable if they target and harm a particular

    student, a decision we had reached together on the 26th; to differentiate between the

    degrees of involvement of the three students; but to keep the length of suspensions to the

    minimum necessary to accomplish those other two purposes.

 30. I informed the Superintendent and Assistant Principal of my decision about the lengths of

    suspensions on Monday, September 30, 2019.

 31. Pursuant to JICK-R, we are required prepare a written report summarizing our bullying

    investigation. I drafted that report over the weekend on September 28 and 29, sharing it

    early the following week to get input and factual corrections. In addition to preparing a

    report, the policy also requires us to inform the student who made the bullying complaint

    about the steps we have taken in response and inform the person accused of bullying of

    the results of our investigation. I have generally spoken first with the victim and then with

    the person found to have engaged in bullying behavior when doing these investigations. I

    began trying to contact Student 1 and his family by telephone on October 1, 2019 but was

    unable to reach them. On October 3, 2019, I wrote them an email, a copy of which is

    attached as Exhibit 4, informing them of the conclusions of the bullying investigation.




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  32. My computer records reflect that I began drafting a letter to A.M. informing her of her

      suspension on October 3, 2019. A copy of a screen shot reflecting when the letter was

      created is attached hereto as Exhibit 5.

  33. I finally spoke with Student 1 and his family on October 3, 2019 and Mr. Carpenter and I

      met with the three girls, including A.M. to inform them of the results of the investigation

      and their suspensions on October 4, 2019.

  34. I made the decision to suspend A.M. because her references to Student 1 made him feel so

      unsafe that he could not attend school for eight days. It also had the effect of instilling

      fear in a number of other students we interviewed, including one student who was a sexual

      assault survivor who was especially afraid and confused after learning about the notes.

  35. I made the decision to suspend all three students well before the Portland Press Herald

      article about A.M. was printed and it had no role in my decision.

  36. Both of the other students have served their respective suspensions.



I declare under penalty of perjury under the laws of the United States that the foregoing is true
and correct.

       Executed: October 17, 2019                             /s/ Jeffrey Shedd
                                                              Jeffrey Shedd




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